Case: 1:17-md-02804-DAP Doc #: 3555-44 Filed: 11/13/20 1 of 15. PageID #: 505977




                       EXHIBIT O
                 Case: 1:17-md-02804-DAP Doc #: 3555-44 Filed: 11/13/20 2 of 15. PageID #: 505978



          Original Investigation | Pediatrics

          Cognitive and Motor Outcomes of Children
          With Prenatal Opioid Exposure
          A Systematic Review and Meta-analysis
          Su Lynn Yeoh; John Eastwood, FRACP, PhD; Ian M. Wright, MBBS, FRACP; Rachael Morton, MScMed, PhD; Edward Melhuish, PhD;
          Meredith Ward, MBBS, FRACP, PhD; Ju Lee Oei, MBBS, FRACP, MD



          Abstract                                                                                                           Key Points
                                                                                                                             Question Is prenatal opioid exposure
          IMPORTANCE Prenatal opioid exposure (POE) is one of the fastest-growing global health problems,
                                                                                                                             associated with differences in childhood
          but its association with long-term neurologic and physical development remains unknown.
                                                                                                                             cognitive and motor development?

          OBJECTIVE To assess the association between POE and cognitive and motor development in                             Findings In this systematic review and
          children from age 6 months to 18 years.                                                                            meta-analysis of 26 studies including
                                                                                                                             1455 children exposed to prenatal
          DATA SOURCES Key search terms included prenatal opioid exposure, neonatal abstinence                               opioids compared with unexposed
          syndrome, and neurocognitive development. Studies were searched using PubMed and Embase, with                      children, prenatal opioid exposure was
          no publication date restriction, through August 20, 2018.                                                          associated with lower cognitive scores.
                                                                                                                             The largest difference was seen
          STUDY SELECTION Only published cohort studies comparing the results of age-appropriate                             between ages 6 months and 6 years.
          standardized cognitive and/or motor tests between children with any POE (aged 0-18 years) with
                                                                                                                             Meaning The negative consequences
          drug-free controls were included. Data that were not convertible to means and SDs were excluded.
                                                                                                                             of prenatal opioid exposure on
                                                                                                                             neurocognitive and physical
          DATA EXTRACTION AND SYNTHESIS This study was conducted according to Preferred Reporting
                                                                                                                             development appear to be present from
          Items for Systematic Reviews and Meta-analyses (PRISMA) and Meta-analysis of Observational
                                                                                                                             6 months and persist beyond
          Studies in Epidemiology (MOOSE) guidelines. Data were pooled using a random-effects model.
                                                                                                                             school age.

          MAIN OUTCOMES AND MEASURES Standardized mean difference of cognitive and motor tests
          between POE and nonexposed children.                                                                             + Supplemental content
                                                                                                                           Author affiliations and article information are
          RESULTS Twenty-six peer-reviewed cohort studies were included. Cognitive outcomes were                           listed at the end of this article.

          compared for a total of 1455 children with POE and 2982 nonexposed children across 3 age groups
          (mean [SE] age at cognitive testing was 13 [1.58] months for the toddler group; 4.5 [0.38] years for
          the preschool group; and 13 [2.36] years for the school-aged group). Motor outcomes were
          compared for 688 children with POE and 1500 nonexposed children up to age 6 years (mean [SD]
          age at motor testing, 2 [0.45] years). Standardized mean difference was lower in cognitive tests for
          children with POE at 0 to 2 years (d = −0.52; 95% CI, −0.74 to −0.31; P < .001) and 3 to 6 years
          (d = −0.38; 95% CI, −0.69 to −0.07; P < .001); the difference was not significant for those aged 7 to
          18 years (d = −0.44; 95% CI, −1.16 to 0.28; P = .23). Motor scores were lower in children with POE
          (d = 0.49; 95% CI, 0.23-0.74; P < .001).


          CONCLUSIONS AND RELEVANCE Prenatal opioid exposure appeared to be negatively associated
          with neurocognitive and physical development from age 6 months, and this association persisted

                                                                                                             (continued)




             Open Access. This is an open access article distributed under the terms of the CC-BY License.

          JAMA Network Open. 2019;2(7):e197025. doi:10.1001/jamanetworkopen.2019.7025 (Reprinted)                                                        July 12, 2019       1/14




Downloaded From: https://jamanetwork.com/ by Kanwaljeet Anand on 09/08/2020
                 Case: 1:17-md-02804-DAP Doc #: 3555-44 Filed: 11/13/20 3 of 15. PageID #: 505979
          JAMA Network Open | Pediatrics                                                               Cognitive and Motor Outcomes of Children With Prenatal Opioid Exposure


          Abstract (continued)

          until adolescence. The cause and association of this with POE or other factors (eg, withdrawal
          treatment) are uncertain but suggest that POE necessitates long-term support and intervention.

          JAMA Network Open. 2019;2(7):e197025. doi:10.1001/jamanetworkopen.2019.7025




          Introduction
          Prenatal opioid exposure (POE) is a fast-growing health problem, with at least 1 in 5 pregnant women
          in high-income countries known to have used some form of opioid during pregnancy.1 This incidence
          has been reported to be associated with increases in the risk of perinatal problems, including
          neonatal abstinence syndrome (NAS), prematurity, and low birth weight.2 Neonatal abstinence
          syndrome affects 75% to 90% of all infants with POE1 and is considered a major global public health
          issue. The number of babies affected by NAS has increased by more than 400% in the past 2
          decades,3 resulting in consumption of health care and social resources. Public expenditure on
          hospital care for newborns with NAS in the United States alone exceeds $1 billion US dollars per year.3
                The outcomes of infants with POE are therefore relevant, especially in regard to
          neurodevelopment. In animal studies, opioids impair neuronal development, differentiation, growth,
          and survival,4,5 as well as neurotransmitter homeostasis.6,7 Changes in brain volume and function
          are evident even after short-term opioid use in adult humans.8 Prenatal opioid exposure is also
          associated with a higher risk of exposure to adverse social, environmental, and familial disadvantages
          that may impede optimal neurodevelopment.9 For example, opioid-using mothers often have poorer
          educational attainment,10 an increased risk of psychiatric comorbidity,11 and poorer physical health12
          that, together with other problems (eg, poverty, inadequate nutrition, and social chaos), may impair
          their ability to nurture their children.
                There are minimal data on long-term outcomes of children with POE. Most children with POE
          are healthy and have no other medical issues, making the expense for long-term follow-up difficult to
          justify.13 Families affected by POE may also be mobile. In Australia, more than 50% of children of
          mothers in the methadone program are placed in foster care by age 5 and are subjected to various
          home placements and name changes,14 making long-term tracking difficult.
                Nevertheless, there is increasing evidence that neurodevelopmental surveillance and
          intervention for children with POE should be as important as follow-up for children with other
          problems (eg, prematurity). Opioids cross the placental and milk barriers and are easily detectable in
          newborn and fetal products.15 The exact association between opioids and neurogenesis and function
          is unclear, but opioids have been shown to induce apoptosis of human brain cell cultures in vitro5
          and impair synaptosomal uptake of neurotransmitters, such as dopamine and norepinephrine, in
          mice.7 In human studies, children with a history of POE have smaller head circumferences16 and
          lower brain volumes, especially of the basal ganglia and cerebellum,17 than other children, and these
          changes persist to adolescence.18 The association with function is unclear, but in the general
          population, smaller brain volumes are reported as being associated with lower intelligence and
          cognitive skills.19
                Individual neurodevelopmental tests are robust indicators of child functioning. They serve to
          inform on the developmental needs of the child so that intervention therapies can be provided to
          decrease the risk of future functional problems. However, these tests are time consuming and
          difficult to conduct, especially with a mobile and chaotic population. Currently available
          neurodevelopmental data for children with POE arise from small, heterogeneous studies that,
          individually, are inadequately powered to inform on the needs of this group of children.
                We therefore conducted a systematic review and meta-analysis of cohort studies to determine
          whether association exists between POE and neurodevelopmental outcomes in children aged 0 to
          18 years. We hypothesized that POE will be negatively associated with long-term cognitive and motor
          outcomes and that this association will be apparent before the child enters school.

             JAMA Network Open. 2019;2(7):e197025. doi:10.1001/jamanetworkopen.2019.7025 (Reprinted)                                                     July 12, 2019   2/14




Downloaded From: https://jamanetwork.com/ by Kanwaljeet Anand on 09/08/2020
                Case: 1:17-md-02804-DAP Doc #: 3555-44 Filed: 11/13/20 4 of 15. PageID #: 505980
          JAMA Network Open | Pediatrics                                                                          Cognitive and Motor Outcomes of Children With Prenatal Opioid Exposure


          Methods
          This systematic review and meta-analysis was conducted and reported using the guidelines for Meta-
          analysis of Observational Studies in Epidemiology (MOOSE)20 and the Preferred Reporting Items for
          Systematic Reviews and Meta-analyses (PRISMA) reporting guideline.21


          Eligibility Criteria
          Only published cohort studies that compared outcomes of children with POE (aged 0-18 years) with
          drug-free controls were included. Included studies measured cognitive and/or motor development
          using age-appropriate, standardized tests and reported results as a mean and SD. Studies without
          enough data necessary to derive the mean and SD were excluded. All types of opioids were included,
          such as heroin, methadone, and buprenorphine, as well as known polysubstances (ie, >1 class of
          drug). Studies were excluded if they did not include human participants, were literature reviews, and
          did not have drug-free controls as comparators (Figure 1). To our knowledge, there have been no
          randomized clinical trials of POE vs no exposure.


          Electronic Search Method and Study Selection
          Electronic databases (PubMed and Embase) were searched comprehensively by 2 of us
          independently (S.L.Y., J.L.O.). Hand searching was also conducted for references of included studies
          and those of relevant reviews. Backward searching looking for other articles by the same authors
          was also used, especially for longitudinal cohort studies. A strategy using the search terms prenatal
          exposure, opioid, methadone, heroin, neonatal abstinence syndrome, cognition, school, academic
          achievement, intelligence, and neurodevelopment was conducted with no publication date
          restriction. Articles had to be published in English and as the complete study. The initial search began
          on June 12, 2018, and continued concurrently with data extraction until August 10, 2018. Three of us
          (S.L.Y, R.M., and J.L.O.) assessed eligibility by title and abstract screening, and any discrepancies were
          discussed among all authors with a full-text article review. Study authors were not contacted for
          further information owing to the protracted amount of time from when some of the studies were
          conducted (>20 years).




          Figure 1. PRISMA Flow Diagram of Search

                   1092 Records identified through                         11 Additional records identified
                        database searching                                    through other sources



                                         1095 Records after duplicates removed


                                                                          906 Records excluded (eg, animal
                                                                              studies, literature reviews)


                                                  189 Records screened


                                        52 Full-text articles assessed for eligibility


                                                                     26 Full-text articles excluded
                                                                        4 No drug-free controls
                                                                        8 Standardized tests or scores not used
                                                                        5 Scores not given as mean (SD)
                                                                        5 Overlapping study sample
                                                                        3 Data only on cocaine use
                                                                        1 Age at testing not specified


                                           26 Studies included in meta-analysis




             JAMA Network Open. 2019;2(7):e197025. doi:10.1001/jamanetworkopen.2019.7025 (Reprinted)                                                                July 12, 2019   3/14




Downloaded From: https://jamanetwork.com/ by Kanwaljeet Anand on 09/08/2020
                Case: 1:17-md-02804-DAP Doc #: 3555-44 Filed: 11/13/20 5 of 15. PageID #: 505981
          JAMA Network Open | Pediatrics                                                               Cognitive and Motor Outcomes of Children With Prenatal Opioid Exposure


          Data Extraction
          Data extracted from each eligible study included type of exposure to opioids and other drugs, place
          of birth, rate of NAS, rate of out-of-home placement, age, and types of neurodevelopmental tests
          used and their outcomes. For longitudinal studies that assessed children several times over years and
          if results were published in 1 or multiple articles, only 1 result was selected for each age subgroup. For
          cognitive outcomes, selection was based first on the largest sample size followed by the age closest
          to the mean age for that subgroup. For motor outcomes, selection was based on the largest sample
          size followed by the most recent test.22 The subgroups were infancy (ⱕ24 months), preschool age
          (3-6 years), and school age (7-18 years).


          Statistical Analysis
          The main outcome measures were standardized mean differences (SMDs) and 95% CIs, calculated
          from the means and SDs of neurodevelopmental tests for POE and unexposed children. Standard
          meta-analytic procedures were conducted with the Cochrane Collaboration Review Manager
          Software (RevMan, version 5.3) and Meta-Analyst.23 Publication bias and funnel plots were assessed
          and generated using Meta-Essentials. Because the studies used different assessment tools, a random
          effects model24 was used to calculate SMD, which was used as effect size per Cohen d (0.3-0.4, small;
          0.5-0.8, moderate; >0.8, large effect).25 Publication bias was assessed visually by looking for
          asymmetry in funnel plots and formally with the Egger test. The Egger test is a linear regression test
          that examines the association between effect size and SE and is used together with a funnel plot
          because visual assessment can be subjective.26 Study heterogeneity was assessed using I2 analysis.
          Heterogeneity was considered significant if the I2 value was greater than 50%.27 The quality of the
          included articles was assessed using the Newcastle-Ottawa Scale,28 which was originally a 9-point
          scale system, but one that we adapted to 7 points. The criteria of demonstration that outcome of
          interest was not present at the start of the study and follow-up was long enough for outcomes to
          occur were excluded as they were not applicable to the outcome of neurocognitive development. A
          score of 5 was the threshold for a study to be considered high quality. Sensitivity analyses using only
          high-quality studies were conducted to determine whether the effect size changed.


          Additional Analyses
          Subgroup analyses based on opioid type, test used, and whether the study controlled for
          socioeconomic status were performed to examine whether the status contributed to study
          heterogeneity. Details are provided in Table 1 and Table 2.27 Post hoc random-effects
          metaregression analysis was performed to identify the association of clinical factors, such as rates of
          NAS, sex, and foster care, with differences in effect size. Additional analyses were performed only
          on the 6- to 24-month and 3- to 6-year age groups because of the adequate number of studies with
          sufficiently large samples (n > 10).


          Results
          Study Selection
          There were 26 studies eligible for inclusion in the meta-analysis. The database search identified 1103
          citations. After removal of duplicates, 1095 titles and abstracts were screened. Of these, 189
          remained for full-article screening; 52 articles were assessed for eligibility and 26 articles were
          excluded. A flow diagram is provided in Figure 1.


          Study Characteristics
          Details of the cognitive and motor studies have been summarized in eTable 1 and eTable 2 in the
          Supplement, respectively. The 26 studies included 1455 children with POE and 2982 controls. There
          were 18 unique samples of children because some longitudinal studies reported on the same
          cohort.29-54 The studies were all from high-income countries and regions, including the United States


             JAMA Network Open. 2019;2(7):e197025. doi:10.1001/jamanetworkopen.2019.7025 (Reprinted)                                                     July 12, 2019   4/14




Downloaded From: https://jamanetwork.com/ by Kanwaljeet Anand on 09/08/2020
                 Case: 1:17-md-02804-DAP Doc #: 3555-44 Filed: 11/13/20 6 of 15. PageID #: 505982
          JAMA Network Open | Pediatrics                                                                            Cognitive and Motor Outcomes of Children With Prenatal Opioid Exposure


          (n = 11),30,32,34,37-39,41,42,44,46,50 Australia (n = 2),31,33 Europe (n = 4),29,35,40,49 and Israel (n = 1).36
          Heroin was used in conjunction with polydrug ingestion in 10 studies,35,36,44,45,49-54 methadone in
          conjunction with polydrug ingestion in 13 studies,29-33,37-39,41-43,47,48 and unspecified opioids in
          conjunction with polydrug ingestion in 3 studies.34,40,46
                Mean (SE) age at cognitive testing was 13 (1.58) months for the toddler group, 4.5 (0.38) years
          for the preschool group, and 13 (2.36) years for the school-aged group. Mean (SD) age at motor
          testing was 2 (0.45) years. Children were born between 1970 and 2004.
          Sixteen30,32,34,36-39,41-44,46,47,50,52,53 studies controlled for socioeconomic status,



          Table 1. Cognitive Subgroup Analyses

                                                          Ages 6-24 mo                                                        Ages 3-6 y
                                                          No. of                                             P Value for      No. of                                                    P Value for
           Variable             Subgroup                  Studies   SMD (95% CI)                  I2, %      Heterogeneity    Studies      SMD (95% CI)                   I2, %         Heterogeneity
           Overall              NA                        13        −0.52 (−0.74 to −0.31)        71         <.001            13           −0.38 (−0.69 to −0.0.7)        86            <.001
           Main opioid used Methadone                     10        −0.61 (−0.88 to −0.33)        72         <.001            7            −0.52 (−0.78 to −0.27)         55            .04
                                Heroin                    1         −0.54 (−0.89 to −0.18)        NA         NA               4            −0.41 (−0.64 to −0.17)         0             .79
                                Unspecified               2         −0.22 (−0.43 to −0.013)       0          .53              2            0.24 (−0.66 to 1.13)           93            <.001
           Controlled for       Yes                       8         −0.47 (−0.76 to −0.17)        71         .001             8            −0.20 (−0.59 to 0.19)          88            <.001
           SES
                                No                        5         −0.62 (−0.91 to −0.33)        62         .03              5            −0.70 (−0.91 to −0.48)         86            <.001
           Test used            BSID                      8         −0.40 (−0.60 to −0.20)        35         .15              0            NA                             NA            NA
                                BSID-II                   3         −0.57 (−1.00 to −0.14)        83         .003             0            NA                             NA            NA
                                BSID-III                  1         −2.25 (−3.06 to −1.44)        NA         NA               0            NA                             NA            NA
                                Griffiths Mental          1         −0.50 (−0.99 to −0.010)       NA         NA               0            NA                             NA            NA
                                Development Scales
                                Stanford-Binet            0         NA                            NA         NA               4            −0.38 (−0.55 to −0.20)         0             .70
                                Intelligence Scales
                                MSCA                      0         NA                            NA         NA               5            −0.43 (−0.77 to −0.08)         60            .04
                                BSID-II                   0         NA                            NA         NA               1            0.68 (0.45 to 0.91)            NA            NA
                                MPMST                     0         NA                            NA         NA               1            −0.77 (−1.32 to −0.22)         NA            NA
                                SON                       0         NA                            NA         NA               1            −0.96 (−1.53 to −0.40)         NA            NA
                                WPPSI-III                 0         NA                            NA         NA               1            −0.57 (−1.39 to 0.25)          NA            NA

          Abbreviations: BSID, Bayley Scales of Infant and Toddler Development; BSID-II, Bayley           socioeconomic status; SMD, standardized mean difference; SON, Snijders-Oomen
          Scales of Infant and Toddler Development–Second Edition; BSID-III, Bayley Scales of             Nonverbal Intelligence scale; WPPSI-III, Wechsler Preschool and Primary Scale of
          Infant and Toddler Development–Third Edition; MPMST, Merill-Palmer Scale of Mental              Intelligence, third edition.
          Tests; MSCA, McCarthy Scales of Children’s Abilities; NA, not applicable; SES,



          Table 2. Motor Subgroup Analyses

                                                                                              Ages 6-24 mo
                                                                                              No. of                                                                              P Value for
           Variable                            Subgroup                                       Studies                     SMD (95% CI)                            I2, %           Heterogeneity
           Overall                             NA                                             14                          −0.49 (−0.74 to −0.23)                  80              <.001
           Main opioid used                    Methadone                                      9                           −0.66 (−1.05 to −0.28)                  84              <.001
                                               Heroin                                         3                           −0.47 (−0.74 to −0.20)                  22              .28
                                               Unspecified                                    2                           −0.03 (−0.26 to 0.19)                   57              .30
           Controlled for SES                  Yes                                            8                           −0.65 (−1.05 to −0.24)                  86              <.001
                                               No                                             6                           −0.35 (−0.68 to −0.01)                  73              <.001
           Test used                           BSID                                           7                           −0.33 (−0.54 to −0.12)                  37              .14
                                               BSID-II                                        2                           −0.39 (−1.01 to 0.22)                   89              .002
                                               MSCA                                           2                           −0.30 (−1.18 to 0.58)                   83              .01
                                               BSID-III                                       1                           −3.50 (−4.5 to −2.54)                   NA              NA
                                               Griffiths Mental Development Scales            1                           −0.67 (−1.16 to −0.17)                  NA              NA
                                               Purdue Pegboard Test                           1                           −0.34 (−0.74 to 0.063)                  NA              NA

          Abbreviations: BSID, Bayley Scales of Infant and Toddler Development; BSID-II, Bayley           Abilities; NA, not applicable; SES, socioeconomic status; SMD, standardized mean
          Scales of Infant and Toddler Development–Second Edition; BSID-III, Bayley Scales of             difference.
          Infant and Toddler Development–Third Edition; MSCA, McCarthy Scales of Children’s


             JAMA Network Open. 2019;2(7):e197025. doi:10.1001/jamanetworkopen.2019.7025 (Reprinted)                                                                           July 12, 2019       5/14




Downloaded From: https://jamanetwork.com/ by Kanwaljeet Anand on 09/08/2020
                 Case: 1:17-md-02804-DAP Doc #: 3555-44 Filed: 11/13/20 7 of 15. PageID #: 505983
          JAMA Network Open | Pediatrics                                                                Cognitive and Motor Outcomes of Children With Prenatal Opioid Exposure


          1929,31-33,35-37,39-41,43,45,47-51,53,54 reported rates of NAS, and 2129-31,33,35-38,40,41,43-48,50-54 reported
          rates of foster or out-of-home care. The reported rates for NAS ranged from 53% to 93%. The
          incidence of NAS was not reported in 1 study, which was attributed to detoxification of the mothers
          by the third trimester.49 Rates of out-of-home care ranged from 20% to 72%. In 4 studies,30,38,46,51
          all children with POE who were tested were in the care of their mother owing to the differences in
          recruitment methods, such as foster care being an exclusion criterion46,51 or having a subsample of
          mothers who were functional enough to retain custody of their children.38


          Cognitive Tests
          For children aged 6 to 24 months, the Bayley Scales of Infant Development (BSID)55 was the most
          common cognitive test conducted (n = 8).30-32,36,37,39-41 Other tests included the Bayley Scales of
          Infant and Toddler Development–Second Edition (BSID-II)56 (n = 3),33-35 Bayley Scales of Infant and
          Toddler Development–Third Edition (BSID-III)57 (n = 1),38 and Griffiths Mental Development Scales58
          (n = 1).29 For children 3 to 6 years, the most common test was the McCarthy Scales of Children’s
          Abilities59 (MSCA) (n = 5),32,35,43,45,50 followed by the Stanford-Binet Intelligence Scales60 (SB)
          (n = 4).31,42,44,46 Other tests included the Weschler Preschool and Primary Scale of Intelligence–III61
          (n = 1),49 the Snijders-Oomen Nonverbal Intelligence tests62 (n = 1)48 and the Merrill-Palmer Scale of
          Mental Tests63 (n = 1).47 For children 7 to 18 years, the most common test was the Wechsler
          Intelligence Scale for Children64 (n = 2)51,52 or the Wechsler Intelligence Scale for Children–Revised65
          (n = 1)53 (eTable 1 in the Supplement).


          Types of Motor Tests
          The most common motor test used was the BSID55 (n = 7),30,31,36,37,39-41 followed by BSID-II56
          (n = 2)33,34 and MSCA59 (n = 2).32,54 Other tests used were BSID-III57 (n = 1),38 Griffiths Mental
          Development Scales 58 (n = 1),29 and the Purdue Pegboard Test66 (n = 1)44 (eTable 2 in the
          Supplement).


          Cognitive Scores
          For infants aged 0 to 24 months, 13 studies pooling 584 children with POE and 1496 controls
          revealed a significant difference in neurocognitive development. Results for children with POE were
          lower (d = −0.52; 95% CI, −0.74 to −0.31; P < .001) than those of the controls (Figure 2A).
          Heterogeneity was significant at 71%. This incidence was partially accounted for by subgroup analysis
          including only studies that tested using the BSID (I2 = 35%) or included exposure to unspecified
          drugs (I2 = 0).
               For preschool children aged 3 to 6 years, 13 studies pooling 719 children with POE and 1346
          controls revealed a significant difference in neurocognitive development. Results for children with
          POE were lower (d = −0.38; 95% CI, −0.69 to −0.07; P < .02) than those of controls (Figure 2B).
          Heterogeneity was significant at 86%. This incidence was partially accounted for by subgroup
          analyses, including only studies that tested using the MSCA (I2 = 60%) and Stanford-Binet
          Intelligence Scales (I2 = 0%) or children with exposure to methadone (I2 = 55%) and heroin
          (I2 = 0%).
               For school-aged children 7 to 18 years, 3 studies pooling 152 children with POE and 140 controls
          showed that the difference in neurocognitive development was not significant (d = −0.44; 95% CI,
          −1.16 to 0.28; P = .23) (Figure 2C). Heterogeneity was significant at 89%. However, the number of
          studies was too small to perform subgroup analysis. All studies were considered high quality.


          Motor Outcomes
          For all children 6 years or younger, 14 studies pooling 688 children with POE and 1500 controls
          revealed a significant difference in motor development. Results for children with POE were lower
          (d = −0.49; 95% CI, −0.74 to −0.23; P < .001) than those of the controls (Figure 3). Heterogeneity



             JAMA Network Open. 2019;2(7):e197025. doi:10.1001/jamanetworkopen.2019.7025 (Reprinted)                                                      July 12, 2019   6/14




Downloaded From: https://jamanetwork.com/ by Kanwaljeet Anand on 09/08/2020
                 Case: 1:17-md-02804-DAP Doc #: 3555-44 Filed: 11/13/20 8 of 15. PageID #: 505984
          JAMA Network Open | Pediatrics                                                                                                   Cognitive and Motor Outcomes of Children With Prenatal Opioid Exposure


          was significant at 80%. This incidence was partially accounted for by subgroup analyses, including
          only studies that tested using the BSID (I2 = 37%) or children exposed to heroin (I2 = 22).


          Factors Associated With Outcome Differences
          Post hoc univariate metaregression analyzing the association between rates of NAS, rates of
          nonmaternal or foster care, and SMD between children with POE and controls was performed. No



          Figure 2. Cognitive Outcomes Among All Age Groups

                   A Infants, age 0-24 mo

                                                                           POE                               Control                            SMD IV, Random,                   Favors       Favors         Weight,
                  Source                                       Age, mo     Mean     SD            Total      Mean         SD          Total     95% CI                   Poorer Outcome        Better Outcome %
                  Strauss et al,39 1976                        12          113.4    10.2           25        114.8        11.3            26    –0.13 (–0.68 to 0.42)                                            6.6
                  Wilson et al,41 1981                           9          98.3    16.4           64        105.5        15.6            55    –0.45 (–0.81 to –0.08)                                           8.7
                  Rosen and Johnson,37 1982                      6          95.0    16.1           41        100.7        20.1            23    –0.32 (–0.83 to 0.19)                                            7.0
                  Kaltenbach and Finnegan,32 1989              12          102.5    11.4           27        106.5            6.4         17    –0.40 (–1.01 to 0.21)                                            6.0
                  Van Baar et al,40 1990                         6         106.0    13.0           27        107.0        13.0            37    –0.08 (–0.57 to 0.42)                                            7.2
                  Ornoy et al,36 1996                          24          104.0    15.8           37        112.0        14.9            47    –0.52 (–0.96 to –0.08)                                           7.9
                  Bunikowski et al,29 1998                     12          100.5        9.3        27        107.9        17.2            42    –0.50 (–0.99 to –0.01)                                           7.3
                  Hans and Jeremy,30 2001                      12          107.0    14.3           33        109.0        13.7          45      –0.14 (–0.59 to 0.31)                                            7.7
                  Messinger et al,34 2004                      12           88.5    10.7           79         91.6        12.4         960      –0.25 (–0.48 to –0.02)                                          10.3
                  Hunt et al,31 2008                           18           88.2    16.4           79        105.0        23.0            61    –0.85 (–1.20 to –0.51)                                           8.9
                  Nygaard et al,35 2015                        12           92.2    14.3           66          98.7           8.9         58    –0.53 (–0.89 to –0.18)                                           8.8
                  Levine and Woodward et al,33 2018            24           76.1    17.6           68          92.4       16.4            88    –0.96 (–1.29 to –0.62)                                           9.1
                  Serino et al,38 2018                         12           95.4        3.9        11        102.6            2.9         37    –2.25 (–3.07 to –1.43)                                           4.3
                  Total (95% CI)                                                                  584                                 1496      –0.52 (–0.74 to –0.31)                                         100.0
                  Heterogeneity: τ2 = 0.10; χ2 = 40.8112; P < .001; I 2 = 71%,
                                                                                                                                                                         –4     –2         0        2      4
                  Test for overall effect: z = 4.73, P < .001
                                                                                                                                                                              SMD IV, Random, 95% CI

                   B   Preschool children, age 3-6 y
                                                                         POE                              Control                               SMD IV, Random,                   Favors       Favors         Weight,
                  Source                                       Age, y    Mean      SD           Total     Mean           SD           Total     95% CI                   Poorer Outcome        Better Outcome %
                  Wilson et al,50 1979                     3.0            88.7     14.6          22          97.4        14.6             20    –0.58 (–1.20 to 0.03)                                            6.9
                  Lifschitz et al,43 1985                  3.0            87.9     14.5          51          89.4        10.8             41    –0.11 (–0.53 to –0.30)                                           8.1
                  Rosen and Johnson,47 1985                3.0            44.6      2.1          39          46.3         2.3             21    –0.77 (–1.32 to –0.22)                                           7.3
                  Bauman and Levine,42 1986                3.0            92.7     15.4          70       100.4          18.4             70    –0.45 (–0.79 to –0.12)                                           8.5
                  Kaltenbach and Finnegan,32 1989          3.5           106.5     13.0          27       106.1          13.1             17    0.03 (–0.58 to 0.64)                                             6.9
                  Van Baar and de Graaff,48 1994           3.5            99.0      9.0          23       109.0          11.0             32    –0.96 (–1.53 to –0.40)                                           7.2
                  Ornoy et al,45 2003                      3.0           101.7     13.6          35       108.4          12.2             24    –0.51 (–1.03 to 0.02)                                            7.4
                  Messinger et al,34 2004                  3.0            83.0      1.6          78        82.6           0.4         918        0.68 (0.45 to 0.91)                                             8.9
                  Hunt et al,31 2008                       6.0            99.9     15.1          67       107.5          13.4          44       –0.52 (–0.91 to –0.14)                                           8.2
                  Nair et al,44 2008                       6.0            80.1     10.1         111          83.3        11.2             62    –0.30 (–0.62 to 0.01)                                            8.6
                  Pulsifer et al,46 2008                   5.0            86.7     11.3         113          89.5        13.0             31    –0.24 (–0.64 to 0.16)                                            8.1
                  Nygaard et al,35 2015                    4.5           102.3     15.1          71       114.3          12.1             54    –0.86 (–1.23 to –0.49)                                           8.3
                  Walhovd et al,49 2015                    4.5            94.9      7.2          12          99.4         8.0             12    –0.57 (–1.39 to 0.25)                                            5.7
                  Total (95% CI)                                                                719                                  1346       –0.38 (–0.69 to –0.07)                                         100.0
                  Heterogeneity: τ2 = 0.28; χ2 = 87.5912; P < .001; I 2 = 86%,
                                                                                                                                                                         –2     –1         0        1      2
                  Test for overall effect: z = 2.37, P < .02
                                                                                                                                                                              SMD IV, Random, 95% CI

                   C   School-aged children, age 7-18 y
                                                               POE                                    Control                                   SMD IV, Random,                   Favors       Favors         Weight,
                  Source                        Age, y         Mean       SD            Total         Mean          SD               Total      95% CI                   Poorer Outcome        Better Outcome %
                  Robey et al,52 2014           14.0           90.47      33.3          59              94.8        34.3             46         –0.13 (–0.51 to 0.26)                                           33.8
                  Nygaard et al,53 2016          8.5           97.90      16.0          55            116.1         14.2             48         –1.19 (–1.61 to –0.77)                                          33.2
                  Ornoy et al,51 2016            9.0           88.80      11.4       38                 88.9        13.3             46         –0.01 (–0.44 to 0.42)                                           33.0
                  Total (95% CI)                                                    152                                             140         –0.44 (–1.16 to 0.28)                                          100.0
                  Heterogeneity: τ2 = 0.37; χ2 = 18.562; P < .001; I 2 = 89%,
                  Test for overall effect: z = 1.19, P < .23
                                                                                                                                                                         –2     –1         0        1      2
                                                                                                                                                                              SMD IV, Random, 95% CI


          IV indicates inverse variance method; POE, prenatal opioid exposure; and SMD, standardized mean difference.


             JAMA Network Open. 2019;2(7):e197025. doi:10.1001/jamanetworkopen.2019.7025 (Reprinted)                                                                                                    July 12, 2019   7/14




Downloaded From: https://jamanetwork.com/ by Kanwaljeet Anand on 09/08/2020
                 Case: 1:17-md-02804-DAP Doc #: 3555-44 Filed: 11/13/20 9 of 15. PageID #: 505985
          JAMA Network Open | Pediatrics                                                                             Cognitive and Motor Outcomes of Children With Prenatal Opioid Exposure


          significant associations between rates of NAS and SMD were found for the age groups 6 to 24
          months (B = 0.002; 95% CI, −0.013 to 0.016; P = .79) and 3 to 6 years (B = −0.00; 95% CI, −0.008
          to 0.007; P = .96). Similarly, no significant associations between rates of nonmaternal care and SMD
          were found for the age groups 6 to 24 months (B = −0.001; 95% CI, −0.008 to 0.007; P = .82) and
          3 to 6 years (B = −0.003; 95% CI, −0.014 to 0.008; P = .57).


          Evaluation of Bias
          There was no evidence of publication bias in studies comparing cognitive scores of infants (SE, 1.05;
          95% CI, −1.11 to 3.46; P = .13) and preschool children (SE, 2.15; 95% CI, −2.07 to 7.29; P = .19) using
          funnel plot inspection and the Egger test. Publication bias for adolescents was not assessed because
          there were inadequate numbers (n = 3) of included studies. There was evidence of publication bias
          in studies comparing motor scores of all children (SE, 1.71; 95% CI, 1.81-9.19; P = .004).


          Discussion
          This systematic review and meta-analysis suggests that differences in neurocognitive testing
          associated with POE occur across a wide age range. The results agree with our hypothesis that POE
          has a negative association with cognitive and motor outcomes, these issues are apparent from as
          early as 6 months, and they persist during school age. To put this finding in perspective, an SMD of
          0.38 to 0.52 corresponds to a moderate effect size,25 equivalent to 5.7 to 7.8 IQ points on a
          population level.67,68 Therefore, we expect that up to 6.3% of children with POE will have an IQ score
          2 SDs below normal compared with 2.3% of children in a normally distributed population, suggesting
          that children with POE are 3 times more likely to have severe intellectual disability according to the
          Diagnostic and Statistical Manual of Mental Disorders, 5th edition69 criteria. This difference is
          significant for children with POE as they are already vulnerable given their tenuous living
          circumstances and increased risk of neglect and abuse,11 as well as their propensity to have
          behavioral and attention deficits,70 all of which contribute to poorer academic, social, and lifestyle
          outcomes.30,34
                The results of our analysis of motor outcomes are similar to those of cognitive outcomes.
          Children with POE have poorer motor development compared with healthy controls. We found a
          difference of 0.49—a small to moderate effect size. Deficits in gross motor and fine motor function



          Figure 3. Motor Results in Children Aged 0 to 6 Years

                                                                    POE                          Control                   SMD IV, Random,                   Favors       Favors         Weight,
                  Source                                  Age       Mean         SD      Total   Mean      SD      Total   95% CI                   Poorer Outcome        Better Outcome %
                  Strauss et al,39 1976                   12.0 mo   102.80       11.00    25     110.40     9.80     26    –0.72 (–1.29 to –0.15)                                           6.4
                  Wilson et al,41 1981                     9.0 mo    90.40       15.90    64      99.00    14.50     55    –0.56 (–0.93 to –0.19)                                           7.9
                  Rosen and Johnson,37 1982                6.0 mo   101.03       18.20    41     105.13    14.20     23    –0.24 (–0.75 to 0.27)                                            6.8
                  Kaltenbach and Finnegan,32 1989          3.5 y     52.29        8.10    27      50.44    12.00     17    0.19 (–0.42 to 0.79)                                             6.1
                  van Baar,40 1990                         6.0 mo   118.00       18.00    27     114.00    21.00     37    0.20 (–0.30 to 0.70)                                             6.9
                  Ornoy et al,36 1996                     24.0 mo    96.60       13.30    30     100.90    14.50     47    –0.30 (–0.76 to 0.16)                                            7.2
                  Bunikowski et al,29 1998                12.0 mo   100.80       13.60    27     111.40    16.90     42    –0.67 (–1.16 to –0.17)                                           6.9
                  Hans and Jeremy,30 2001                 24.0 mo   100.00       14.20    33     108.00    14.90     45    –0.54 (–1.00 to –0.08)                                           7.2
                  Moe,54 2002                              4.5 y     48.90        9.00    64      55.80    10.20     52    –0.72 (–1.10 to –0.34)                                           7.8
                  Messinger et al,34 2004                 12.0 mo    88.90       14.20    79      90.00    12.30    939    –0.09 (–0.32 to 0.14)                                            8.8
                  Hunt et al,31 2008                      18.0 mo   107.50       16.80    79     110.13    14.70     61    –0.16 (–0.50 to 0.17)                                            8.1
                  Nair et al,44 2008                       6.0 y       3.80       1.90   113       4.50     2.60     31    –0.34 (–0.74 to 0.06)                                            7.7
                  Levine and Woodward,33 2018             24.0 mo    82.94       20.54    68      96.10    16.38     88    –0.72 (–1.04 to –0.39)                                           8.2
                  Serino et al,38 2008                    12.0 mo    95.00        2.10    11     101.40     1.70     37    –3.51 (–4.50 to –2.51)                                           3.9
                  Total (95% CI)                                                         688                       1500    –0.49 (–0.74 to –0.23)                                         100.0
                  Heterogeneity: τ2 = 0.18; χ2 = 65.9213; P < .001; I 2 = 80%,
                  Test for overall effect: z = 3.74, P < .001                                                                                       –4     –2         0        2      4
                                                                                                                                                         SMD IV, Random, 95% CI


          IV indicates inverse variance method; POE, prenatal opioid exposure; and SMD, standardized mean difference.


             JAMA Network Open. 2019;2(7):e197025. doi:10.1001/jamanetworkopen.2019.7025 (Reprinted)                                                                               July 12, 2019   8/14




Downloaded From: https://jamanetwork.com/ by Kanwaljeet Anand on 09/08/2020
               Case: 1:17-md-02804-DAP Doc #: 3555-44 Filed: 11/13/20 10 of 15. PageID #: 505986
          JAMA Network Open | Pediatrics                                                               Cognitive and Motor Outcomes of Children With Prenatal Opioid Exposure


          are associated with poorer executive function.71 Thus, our findings point to opioids being associated
          with overall neurodevelopment in infants and preschool children both directly and indirectly, as a
          child’s developmental trajectory is also influenced by his or her physical ability to experience and
          interact with the world.72
               Poor neurodevelopmental outcomes in children with POE, even from an early age, is not novel
          information.31,73 However, our data appear to indicate that neurodevelopment did not improve after
          preschool and worsened by school age. The cause of this outcome is unclear. During preschool,
          children may receive considerably more individual attention than at a later time in education, with
          the reduced intervention possibly leading to worsening cognitive abilities. Regardless of the cause,
          this hampered neurodevelopment has serious implications. For example, a data linkage study by Oei
          et al74 demonstrated that performance on curriculum-based tests of Australian children with a
          history of NAS declined as the children aged and that, by high school, the results of the children with
          NAS were worse than those of children 2 years younger without NAS. However, there were a limited
          number of studies assessing children after school entry in the present meta-analysis, and this
          knowledge gap should be addressed in future studies.
               There are considerable individual and societal consequences of poor neurocognitive
          performance. Neurocognitive performance is strongly correlated with future academic
          achievement.75 School underachievement is reported to lead to students dropping out after failing
          to meet examination requirements or finishing school with poorer qualifications.76 Such individuals
          receive lower wages and are more likely to be unemployed.77 Academic failure is also associated with
          youth delinquency78 as well as early initiation of alcohol and illicit substance use.79 High criminal
          rates and substance use further affect the country through the justice system and police
          expenditures, as well as public health care expenditures.76 Therefore, poor neurocognitive
          performance in childhood and adolescence may lead to financial problems for the individual owing
          to difficulties with employment and incur societal costs associated with youth delinquency and
          substance use. The consequences are likely to be passed on intergenerationally as the deficits
          associated with NAS are likely to influence parenting by NAS-affected adults.
               Opioid substitution therapies limit fetal exposure to the lability of short-acting opioids, such as
          heroin, and stabilize the intrauterine environment.80 Opioid-dependent women who receive
          substitution therapy during their pregnancy are more stable psychologically and physically, receive
          more comprehensive antenatal care, and have better neonatal outcomes than women who are not
          receiving opioid substitution therapies.81 Our study is retrospective and observational; more studies
          need to be conducted before the current standard of care is changed.
               In addition, the cause of these poor outcomes cannot be absolutely determined from the
          studies reviewed herein owing to the combination of inherited epigenetic changes,70 poor parental
          education, direct effect of opioids on brain volume,17 or the child’s home environment.44 Overall,
          there is substantial variability within each subgroup for neurocognitive outcomes as the children age,
          as evidenced by the widening 95% CIs, suggesting that children have the potential to overcome early
          discrepancies and environmental and other factors might possibly improve future outcomes. A
          meta-analysis examining the use of cognitive interventions for children with neurodevelopmental
          disorders82 has shown that improvement in neurocognitive functioning across all domains is
          possible, albeit to different degrees.


          Future Research
          Our results suggest that conducting high-quality longitudinal cohort studies may be warranted to
          investigate the neurocognitive outcomes of children with POE until adolescence. In addition, studies
          using cohort and randomized trial designs should assess whether other factors (eg, foster care and
          parenting) contribute to the outcomes of children with POE. While we acknowledge that such
          studies will require substantial funding, personnel, and time, it is worthwhile since our results suggest
          that children with POE never reach the neurocognitive level of their peers, which increases their risk
          of poor school performance, unemployment,76 and even criminal activity.78 This outcome raises


             JAMA Network Open. 2019;2(7):e197025. doi:10.1001/jamanetworkopen.2019.7025 (Reprinted)                                                     July 12, 2019   9/14




Downloaded From: https://jamanetwork.com/ by Kanwaljeet Anand on 09/08/2020
                Case: 1:17-md-02804-DAP Doc #: 3555-44 Filed: 11/13/20 11 of 15. PageID #: 505987
          JAMA Network Open | Pediatrics                                                                 Cognitive and Motor Outcomes of Children With Prenatal Opioid Exposure


          concern not only for the individual, but for his or her family, community, and society, considering the
          rapid rise of prescription opioid use and abuse around the world.


          Limitations
          This meta-analysis has limitations. To include all available studies, we used hand-searching, which
          may have introduced citation bias. However, publication bias was not detected for cognitive
          outcomes. Although there was publication bias for motor outcomes, the trim-and-fill method, which
          is commonly used to correct for funnel plot asymmetry, is not recommended in this case owing to
          the high level of heterogeneity.22
               Heterogeneity was significant for all analyses, although it was expected owing to the inclusion
          of multiple opioid types, various neurodevelopmental tests used, and clinical factors.22 Nevertheless,
          we attempted to explain the heterogeneity via subgroup analysis. Although heterogeneity was not
          completely accounted for, our results are based on a random-effects model, taking heterogeneity
          into consideration.
               A key limitation is that we were unable to contact some authors for missing data, resulting in the
          exclusion of studies without means and SDs. We also had incomplete information on rates of NAS,
          rates of foster care, sex, parental educational levels, and substances used in pregnancy. In addition,
          the articles were limited to those published in English.
               We performed post hoc metaregression on the association between rates of foster care, rates
          of NAS, and cognitive differences (SMD), but we did not find a significant association. One caveat is
          that post hoc analyses are not recommended because findings are not robust and are prone to
          inaccurate conclusions derived from observational patterns.83 Our intention was to generate
          hypotheses that could potentially explain our results and inform future studies.


          Conclusions
          This systematic review and meta-analysis suggests that POE is negatively associated with
          neurocognitive and motor development. These differences begin from age 6 months and persist in
          adolescence. The exact cause and the association of these findings with clinical factors and
          environmental adversities are unclear but suggest that children with POE should be provided long-
          term support and intervention beyond infancy.




          ARTICLE INFORMATION
          Accepted for Publication: May 21, 2019.
          Published: July 12, 2019. doi:10.1001/jamanetworkopen.2019.7025
          Open Access: This is an open access article distributed under the terms of the CC-BY License. © 2019 Yeoh SL et al.
          JAMA Network Open.
          Corresponding Author: Ju Lee Oei, MBBS, FRACP, MD, Department of Newborn Care, The Royal Hospital for
          Women, Barker Street, Sydney, NSW, 2031 Australia (j.oei@unsw.edu.au).
          Author Affiliations: Medical student, University of New South Wales, Sydney, New South Wales, Australia (Yeoh,
          Eastwood, Ward, Oei); Sydney Local Health District, Croydon, New South Wales, Australia (Eastwood); Ingham
          Institute of Applied Medical Research, Liverpool, New South Wales, Australia (Eastwood); Sydney Medical School,
          Faculty of Medicine and Health, Sydney University, Sydney, New South Wales, Australia (Eastwood); Sydney
          Institute for Women, Children and Their Families, Camperdown, Sydney, New South Wales, Australia (Eastwood);
          Early Start Research Institute, University of Wollongong, Wollongong, New South Wales, Australia (Wright);
          University of Queensland Centre for Clinical Research, Herston, Queensland, Australia (Wright, Melhuish); NHMRC
          Clinical Trials Centre, Faculty of Medicine and Health, University of Sydney, Camperdown, New South Wales,
          Australia (Morton); Department of Education, University of Oxford, Oxford, United Kingdom (Melhuish); Birkbeck,
          University of London, London, United Kingdom (Melhuish, Ward); Department of Newborn Care, Royal Hospital
          for Women, Sydney, Australia (Oei).




             JAMA Network Open. 2019;2(7):e197025. doi:10.1001/jamanetworkopen.2019.7025 (Reprinted)                                                      July 12, 2019   10/14




Downloaded From: https://jamanetwork.com/ by Kanwaljeet Anand on 09/08/2020
                Case: 1:17-md-02804-DAP Doc #: 3555-44 Filed: 11/13/20 12 of 15. PageID #: 505988
          JAMA Network Open | Pediatrics                                                                   Cognitive and Motor Outcomes of Children With Prenatal Opioid Exposure


          Author Contributions: Ms Yeoh and Dr Oei had full access to all of the data in the study and take responsibility for
          the integrity of the data and the accuracy of the data analysis.
          Concept and design: Yeoh, Eastwood, Wright, Melhuish, Ward, Oei.
          Acquisition, analysis, or interpretation of data: Yeoh, Morton, Melhuish, Ward, Oei.
          Drafting of the manuscript: Yeoh, Wright, Morton, Oei.
          Critical revision of the manuscript for important intellectual content: All authors.
          Statistical analysis: Yeoh, Melhuish, Oei.
          Obtained funding: Oei.
          Administrative, technical, or material support: Eastwood, Morton, Melhuish, Oei.
          Supervision: Morton, Ward, Oei.
          Conflict of Interest Disclosures: None reported.

          REFERENCES
          1. Patrick SW, Dudley J, Martin PR, et al. Prescription opioid epidemic and infant outcomes. Pediatrics. 2015;135
          (5):842-850. doi:10.1542/peds.2014-3299
          2. Nørgaard M, Nielsson MS, Heide-Jørgensen U. Birth and neonatal outcomes following opioid use in pregnancy:
          a Danish population-based study. Subst Abuse. 2015;9(suppl 2):5-11.
          3. Patrick SW, Davis MM, Lehmann CU, Cooper WO. Increasing incidence and geographic distribution of neonatal
          abstinence syndrome: United States 2009 to 2012. J Perinatol. 2015;35(8):650-655. doi:10.1038/jp.2015.36
          4. Wu C-C, Hung C-J, Shen C-H, et al. Prenatal buprenorphine exposure decreases neurogenesis in rats. Toxicol
          Lett. 2014;225(1):92-101. doi:10.1016/j.toxlet.2013.12.001
          5. Hu S, Sheng WS, Lokensgard JR, Peterson PK. Morphine induces apoptosis of human microglia and neurons.
          Neuropharmacology. 2002;42(6):829-836. doi:10.1016/S0028-3908(02)00030-8
          6. McGinty JF, Ford DH. Effects of prenatal methadone on rat brain catecholamines. Dev Neurosci. 1980;3(4-6):
          224-234. doi:10.1159/000112395
          7. Slotkin TA, Whitmore WL, Salvaggio M, Seidler FJ. Perinatal methadone addiction affects brain synaptic
          development of biogenic amine systems in the rat. Life Sci. 1979;24(13):1223-1229. doi:10.1016/0024-3205(79)
          90059-6
          8. Younger JW, Chu LF, D’Arcy NT, Trott KE, Jastrzab LE, Mackey SC. Prescription opioid analgesics rapidly change
          the human brain. Pain. 2011;152(8):1803-1810. doi:10.1016/j.pain.2011.03.028
          9. Parolin M, Simonelli A, Mapelli D, Sacco M, Cristofalo P. Parental substance abuse as an early traumatic event:
          preliminary findings on neuropsychological and personality functioning in young drug addicts exposed to drugs
          early. Front Psychol. 2016;7:887. doi:10.3389/fpsyg.2016.00887
          10. Kaltenbach K, O’Grady KE, Heil SH, et al. Prenatal exposure to methadone or buprenorphine: early childhood
          developmental outcomes. Drug Alcohol Depend. 2018;185:40-49. doi:10.1016/j.drugalcdep.2017.11.030
          11. Swift W, Copeland J, Hall W. Characteristics of women with alcohol and other drug problems: findings of an
          Australian national survey. Addiction. 1996;91(8):1141-1150. doi:10.1046/j.1360-0443.1996.91811416.x
          12. Ellwood DA, Sutherland P, Kent C, O’Connor M. Maternal narcotic addiction: pregnancy outcome in patients
          managed by a specialized drug-dependency antenatal clinic. Aust N Z J Obstet Gynaecol. 1987;27(2):92-98. doi:10.
          1111/j.1479-828X.1987.tb00952.x
          13. Abdel-Latif ME, Bajuk B, Lui K, Oei J; NSW on ACT Neonatal Intensive Care Units’ Study (NICUS) Group. Short-
          term outcomes of infants of substance-using mothers admitted to neonatal intensive care units in New South
          Wales and the Australian Capital Territory. J Paediatr Child Health. 2007;43(3):127-133. doi:10.1111/j.1440-1754.
          2007.01031.x
          14. Taplin S, Mattick RP. Mothers in methadone treatment and their involvement with the child protection system:
          a replication and extension study. Child Abuse Negl. 2013;37(8):500-510. doi:10.1016/j.chiabu.2013.01.003
          15. Griffiths SK, Campbell JP. Placental structure, function and drug transfer. Contin Educ Anaesth Crit Care Pain.
          2015;15(2):84-89. doi:10.1093/bjaceaccp/mku013
          16. Ross EJ, Graham DL, Money KM, Stanwood GD. Developmental consequences of fetal exposure to drugs: what
          we know and what we still must learn. Neuropsychopharmacology. 2015;40(1):61-87. doi:10.1038/npp.2014.147
          17. Walhovd KB, Moe V, Slinning K, et al. Volumetric cerebral characteristics of children exposed to opiates and
          other substances in utero. Neuroimage. 2007;36(4):1331-1344. doi:10.1016/j.neuroimage.2007.03.070




             JAMA Network Open. 2019;2(7):e197025. doi:10.1001/jamanetworkopen.2019.7025 (Reprinted)                                                         July 12, 2019   11/14




Downloaded From: https://jamanetwork.com/ by Kanwaljeet Anand on 09/08/2020
                Case: 1:17-md-02804-DAP Doc #: 3555-44 Filed: 11/13/20 13 of 15. PageID #: 505989
          JAMA Network Open | Pediatrics                                                                Cognitive and Motor Outcomes of Children With Prenatal Opioid Exposure


          18. Nygaard E, Slinning K, Moe V, Due-Tønnessen P, Fjell A, Walhovd KB. Neuroanatomical characteristics of youths
          with prenatal opioid and poly-drug exposure. Neurotoxicol Teratol. 2018;68:13-26. doi:10.1016/j.ntt.2018.04.004
          19. McDaniel MA. Big-brained people are smarter: a meta-analysis of the relationship between in vivo brain
          volume and intelligence. Intelligence. 2005;33(4):337-346. doi:10.1016/j.intell.2004.11.005
          20. Stroup DF, Berlin JA, Morton SC, et al; Meta-analysis of Observational Studies in Epidemiology (MOOSE)
          Group. Meta-analysis of observational studies in epidemiology: a proposal for reporting. JAMA. 2000;283(15):
          2008-2012. doi:10.1001/jama.283.15.2008
          21. Liberati A, Altman DG, Tetzlaff J, et al. The PRISMA statement for reporting systematic reviews and meta-
          analyses of studies that evaluate healthcare interventions: explanation and elaboration. BMJ. 2009;339:b2700.
          doi:10.1136/bmj.b2700
          22. Higgins J, Green S, eds. Cochrane Handbook for Systematic Reviews of Interventions. 5.1.0 ed. London,
          England: The Cochrane Collaboration; 2011.
          23. Wallace BC, Schmid CH, Lau J, Trikalinos TA. Meta-Analyst: software for meta-analysis of binary, continuous
          and diagnostic data. BMC Med Res Methodol. 2009;9(1):80. doi:10.1186/1471-2288-9-80
          24. Riley RD, Higgins JPT, Deeks JJ. Interpretation of random effects meta-analyses. BMJ. 2011;342:d549. doi:10.
          1136/bmj.d549
          25. Cochrane Handbook for Systematic Reviews of Interventions. 12.6.2 Re-expressing SMDs using rules of thumb
          for effect sizes. https://handbook-5-1.cochrane.org/chapter_12/12_6_2_re_expressing_smds_using_rules_of_thumb_
          for_effect_sizes.htm. Accessed August 5, 2018.
          26. Sterne JAC, Egger M, Smith GD. Systematic reviews in health care: investigating and dealing with publication
          and other biases in meta-analysis. BMJ. 2001;323(7304):101-105. doi:10.1136/bmj.323.7304.101
          27. Sedgwick P. Meta-analyses: what is heterogeneity? BMJ. 2015;350:h1435. doi:10.1136/bmj.h1435
          28. Wells G, Shea B, O’Connell D, et al. The Newcastle-Ottawa Scale (NOS) for assessing the quality of
          nonrandomised studies in meta-analyses. http://www.ohri.ca/programs/clinical_epidemiology/oxford.asp. Accessed
          August 30, 2018.
          29. Bunikowski R, Grimmer I, Heiser A, Metze B, Schäfer A, Obladen M. Neurodevelopmental outcome after
          prenatal exposure to opiates. Eur J Pediatr. 1998;157(9):724-730. doi:10.1007/s004310050923
          30. Hans SL, Jeremy RJ. Postneonatal mental and motor development of infants exposed in utero to opioid drugs.
          Infant Ment Health J. 2001;22(3):300-315. doi:10.1002/imhj.1003
          31. Hunt RW, Tzioumi D, Collins E, Jeffery HE. Adverse neurodevelopmental outcome of infants exposed to opiate
          in-utero. Early Hum Dev. 2008;84(1):29-35. doi:10.1016/j.earlhumdev.2007.01.013
          32. Kaltenbach K, Finnegan LP. Children exposed to methadone in utero: assessment of developmental and
          cognitive ability. Ann N Y Acad Sci. 1989;562(1):360-362. doi:10.1111/j.1749-6632.1989.tb21039.x
          33. Levine TA, Woodward LJ. Early inhibitory control and working memory abilities of children prenatally exposed
          to methadone. Early Hum Dev. 2018;116:68-75. doi:10.1016/j.earlhumdev.2017.11.010
          34. Messinger DS, Bauer CR, Das A, et al. The maternal lifestyle study: cognitive, motor, and behavioral outcomes
          of cocaine-exposed and opiate-exposed infants through three years of age. Pediatrics. 2004;113(6):1677-1685.
          doi:10.1542/peds.113.6.1677
          35. Nygaard E, Moe V, Slinning K, Walhovd KB. Longitudinal cognitive development of children born to mothers
          with opioid and polysubstance use. Pediatr Res. 2015;78(3):330-335. doi:10.1038/pr.2015.95
          36. Ornoy A, Michailevskaya V, Lukashov I, Bar-Hamburger R, Harel S. The developmental outcome of children
          born to heroin-dependent mothers, raised at home or adopted. Child Abuse Negl. 1996;20(5):385-396. doi:10.
          1016/0145-2134(96)00014-2
          37. Rosen TS, Johnson HL. Children of methadone-maintained mothers: follow-up to 18 months of age. J Pediatr.
          1982;101(2):192-196. doi:10.1016/S0022-3476(82)80115-7
          38. Serino Ma D, Peterson Md BS, Rosen Md TS. Psychological functioning of women taking illicit drugs during
          pregnancy and the growth and development of their offspring in early childhood. J Dual Diagn. 2018;14(3):
          158-170. doi:10.1080/15504263.2018.1468946
          39. Strauss ME, Starr RH, Ostrea EM, Chavez CJ, Stryker JC. Behavioural concomitants of prenatal addiction to
          narcotics. J Pediatr. 1976;89(5):842-846. doi:10.1016/S0022-3476(76)80822-0
          40. van Baar A. Development of infants of drug dependent mothers. J Child Psychol Psychiatry. 1990;31(6):
          911-920. doi:10.1111/j.1469-7610.1990.tb00833.x




             JAMA Network Open. 2019;2(7):e197025. doi:10.1001/jamanetworkopen.2019.7025 (Reprinted)                                                      July 12, 2019   12/14




Downloaded From: https://jamanetwork.com/ by Kanwaljeet Anand on 09/08/2020
                Case: 1:17-md-02804-DAP Doc #: 3555-44 Filed: 11/13/20 14 of 15. PageID #: 505990
          JAMA Network Open | Pediatrics                                                                     Cognitive and Motor Outcomes of Children With Prenatal Opioid Exposure


          41. Wilson GS, Desmond MM, Wait RB. Follow-up of methadone-treated and untreated narcotic-dependent
          women and their infants: health, developmental, and social implications. J Pediatr. 1981;98(5):716-722. doi:10.
          1016/S0022-3476(81)80830-X
          42. Bauman PS, Levine SA. The development of children of drug addicts. Int J Addict. 1986;21(8):849-863. doi:
          10.3109/10826088609027399
          43. Lifschitz MH, Wilson GS, Smith EO, Desmond MM. Factors affecting head growth and intellectual function in
          children of drug addicts. Pediatrics. 1985;75(2):269-274.
          44. Nair P, Black MM, Ackerman JP, Schuler ME, Keane VA. Children’s cognitive-behavioral functioning at age 6
          and 7: prenatal drug exposure and caregiving environment. Ambul Pediatr. 2008;8(3):154-162. doi:10.1016/j.
          ambp.2008.02.002
          45. Ornoy A. The impact of intrauterine exposure versus postnatal environment in neurodevelopmental toxicity:
          long-term neurobehavioral studies in children at risk for developmental disorders. Toxicol Lett. 2003;140-141:
          171-181. doi:10.1016/S0378-4274(02)00505-2
          46. Pulsifer MB, Butz AM, O’Reilly Foran M, Belcher HME. Prenatal drug exposure: effects on cognitive functioning
          at 5 years of age. Clin Pediatr (Phila). 2008;47(1):58-65. doi:10.1177/0009922807305872
          47. Rosen TS, Johnson HL. Long-term effects of prenatal methadone maintenance. NIDA Res Monogr. 1985;59:
          73-83.
          48. van Baar A, de Graaff BM. Cognitive development at preschool-age of infants of drug-dependent mothers.
          Dev Med Child Neurol. 1994;36(12):1063-1075. doi:10.1111/j.1469-8749.1994.tb11809.x
          49. Walhovd KB, Bjørnebekk A, Haabrekke K, et al. Child neuroanatomical, neurocognitive, and visual acuity
          outcomes with maternal opioid and polysubstance detoxification. Pediatr Neurol. 2015;52(3):326-32.e1, 3. doi:10.
          1016/j.pediatrneurol.2014.11.008
          50. Wilson GS, McCreary R, Kean J, Baxter JC. The development of preschool children of heroin-addicted
          mothers: a controlled study. Pediatrics. 1979;63(1):135-141. doi:10.1016/S0022-3476(79)80107-9
          51. Ornoy A, Finkel-Pekarsky V, Peles E, Adelson M, Schreiber S, Ebstein PR. ADHD risk alleles associated with
          opiate addiction: study of addicted parents and their children. Pediatr Res. 2016;80(2):228-236. doi:10.1038/pr.
          2016.78
          52. Robey A, Buckingham-Howes S, Salmeron BJ, Black MM, Riggins T. Relations among prospective memory,
          cognitive abilities, and brain structure in adolescents who vary in prenatal drug exposure. J Exp Child Psychol.
          2014;127:144-162. doi:10.1016/j.jecp.2014.01.008
          53. Nygaard E, Slinning K, Moe V, Walhovd KB. Behavior and attention problems in eight-year-old children with
          prenatal opiate and poly-substance exposure: a longitudinal study. PLoS One. 2016;11(6):e0158054. doi:10.1371/
          journal.pone.0158054
          54. Moe V. Foster-placed and adopted children exposed in utero to opiates and other substances: prediction and
          outcome at four and a half years. J Dev Behav Pediatr. 2002;23(5):330-339. doi:10.1097/00004703-
          200210000-00006
          55. Bayley N. Bayley Scales of Infant Development. San Antonio, TX: Psychological Corp; 1969.
          56. Bayley N. Bayley Scales of Infant Development. 2nd ed. San Antonio, TX: Psychological Corp; 1993.
          57. Bayley N. Bayley Scales of Infant Development. 3rd ed. San Antonio, TX: Harcourt Assessment; 2006.
          58. Griffiths R. The Abilities of Young Children. High Wydcombe, UK: The Test Agency; 1976.
          59. McCarthy D. Manual for the McCarthy Scales of Children’s Abilities. New York, NY: Psychological Corp; 1972.
          60. Gale HR. Stanford-Binet Intelligence Scales. 5th ed. Itasca, IL: Riverside Publishing; 2003.
          61. Weschler D. The Wechsler Preschool and Primary Scale of Intelligence. 3rd ed. San Antonio, TX: The
          Psychological Corp; 1989.
          62. Snijders JT, Snijders-Oomen N. Snijders-Oomen Non-verbal Intelligence Scale, SON 2.5-7. Groningen, the
          Netherlands: Wolters-Noordhoff; 1976.
          63. Stutsman R. Merrill-Palmer Scale of Mental Tests. Los Angeles, CA: Western Psychological Services; 1948.
          64. Weschler D. Wechsler Intelligence Scale for Children. San Antonio, TX: Psychological Corp; 1949.
          65. Weschler D. Wechsler Intelligence Scale For Children-Revised. New York, NY: Psychological Corp; 1974.
          66. Tiffin J, Asher EJ. The Purdue pegboard; norms and studies of reliability and validity. J Appl Psychol. 1948;32
          (3):234-247. doi:10.1037/h0061266




             JAMA Network Open. 2019;2(7):e197025. doi:10.1001/jamanetworkopen.2019.7025 (Reprinted)                                                           July 12, 2019   13/14




Downloaded From: https://jamanetwork.com/ by Kanwaljeet Anand on 09/08/2020
                Case: 1:17-md-02804-DAP Doc #: 3555-44 Filed: 11/13/20 15 of 15. PageID #: 505991
          JAMA Network Open | Pediatrics                                                                    Cognitive and Motor Outcomes of Children With Prenatal Opioid Exposure


          67. Brydges CR, Landes JK, Reid CL, Campbell C, French N, Anderson M. Cognitive outcomes in children and
          adolescents born very preterm: a meta-analysis. Dev Med Child Neurol. 2018;60(5):452-468. doi:10.1111/
          dmcn.13685
          68. Twilhaar ES, Wade RM, de Kieviet JF, van Goudoever JB, van Elburg RM, Oosterlaan J. Cognitive outcomes of
          children born extremely or very preterm since the 1990s and associated risk factors: a meta-analysis and meta-
          regression. JAMA Pediatr. 2018;172(4):361-367. doi:10.1001/jamapediatrics.2017.5323
          69. American Psychiatric Association. Diagnostic and Statistical Manual of Mental Disorders. 5th ed. Arlington, VA:
          American Psychiatric Association; 2013.
          70. Maguire DJ, Taylor S, Armstrong K, et al. Long-term outcomes of infants with neonatal abstinence syndrome.
          Neonatal Netw. 2016;35(5):277-286. doi:10.1891/0730-0832.35.5.277
          71. Gonzalez SL, Reeb-Sutherland BC, Nelson EL. Quantifying motor experience in the infant brain: EEG power,
          coherence, and mu desynchronization. Front Psychol. 2016;7(216):216.
          72. Libertus K, Hauf P. Motor skills and their foundational role for perceptual, social, and cognitive development.
          Front Psychol. 2017;8:301. doi:10.3389/fpsyg.2017.00301
          73. Baldacchino A, Arbuckle K, Petrie DJ, McCowan C. Neurobehavioral consequences of chronic intrauterine
          opioid exposure in infants and preschool children: a systematic review and meta-analysis. BMC Psychiatry. 2014;
          14(1):104. doi:10.1186/1471-244X-14-104
          74. Oei JL, Melhuish E, Uebel H, et al. Neonatal abstinence syndrome and high school performance. Pediatrics.
          2017;139(2):e20162651. doi:10.1542/peds.2016-2651
          75. Yen C-J, Konold TR, McDermott PA. Does learning behavior augment cognitive ability as an indicator of
          academic achievement? J Sch Psychol. 2004;42(2):157-169. doi:10.1016/j.jsp.2003.12.001
          76. Organisation for Economic Cooperation and Development. 2010. Overcoming school failure: policies that
          work. http://www.oecd.org/education/school/45171670.pdf. Accessed August 5, 2018.
          77. Jimerson SR. On the failure of failure: examining the association between early grade retention and education
          and employment outcomes during late adolescence. J Sch Psychol. 1999;37(3):243-272. doi:10.1016/S0022-4405
          (99)00005-9
          78. Christle C, Jolivette K, Nelson C. Breaking the school to prison pipeline: identifying school risk and protective
          factors for youth delinquency. Exceptionality. 2005;13(2):69-88. doi:10.1207/s15327035ex1302_2
          79. Trenz RC, Harrell P, Scherer M, Mancha BE, Latimer WW. A model of school problems, academic failure, alcohol
          initiation, and the relationship to adult heroin injection. Subst Use Misuse. 2012;47(10):1159-1171. doi:10.3109/
          10826084.2012.686142
          80. Winklbaur B, Kopf N, Ebner N, Jung E, Thau K, Fischer G. Treating pregnant women dependent on opioids is
          not the same as treating pregnancy and opioid dependence: a knowledge synthesis for better treatment for
          women and neonates. Addiction. 2008;103(9):1429-1440. doi:10.1111/j.1360-0443.2008.02283.x
          81. Hudak ML, Tan RC; Committee on Drugs; Committee on Fetus and Newborn; American Academy of Pediatrics.
          Neonatal drug withdrawal. Pediatrics. 2012;129(2):e540-e560. doi:10.1542/peds.2011-3212
          82. Robinson KE, Kaizar E, Catroppa C, Godfrey C, Yeates KO. Systematic review and meta-analysis of cognitive
          interventions for children with central nervous system disorders and neurodevelopmental disorders. J Pediatr
          Psychol. 2014;39(8):846-865. doi:10.1093/jpepsy/jsu031
          83. Thompson SG, Higgins JP. How should meta-regression analyses be undertaken and interpreted? Stat Med.
          2002;21(11):1559-1573. doi:10.1002/sim.1187


          SUPPLEMENT.
          eTable 1. Descriptive Characteristics of Cognitive Outcomes
          eTable 2. Descriptive Characteristics of Motor Outcomes




             JAMA Network Open. 2019;2(7):e197025. doi:10.1001/jamanetworkopen.2019.7025 (Reprinted)                                                         July 12, 2019   14/14




Downloaded From: https://jamanetwork.com/ by Kanwaljeet Anand on 09/08/2020
